
77 N.Y.2d 857 (1991)
The People of the State of New York, Respondent,
v.
Elijah Watson, Appellant.
Court of Appeals of the State of New York.
Submitted November 5, 1990.
Decided February 12, 1991.
Donald M. Thompson for appellant.
Michael F. Griffith, District Attorney (David Di Matteo of counsel), for respondent.
On the Court's own motion, appeal dismissed on the ground that the counsel assigned by the Appellate Division has never been able to locate or contact the defendant and, thus, is without authority to prosecute this appeal on his behalf. Counsel is relieved of any further obligations to this defendant.
Motion for assignment of counsel and permission to prosecute the appeal as a poor person dismissed as academic.
